[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION MOTION TO DISMISS
The petitioner brought this habeas action asserting that he was falsely accused of assaulting a Corrections officer and subsequently placed in punitive segregation.
On June 11, 2002, the Respondent filed a motion to dismiss the instant action, asserting that this Court is without subject matter jurisdiction for reason that the requested relief is beyond the jurisdiction of the habeas court.
Section 23-29 of the Connecticut Practice Book concerns dismissals of habeas corpus actions. This section provides that:
    The judicial authority may, at any time, upon its own motion or upon motion of the respondent, dismiss the petition, or any count thereof, if it determines that:
(1) the court lacks jurisdiction;
    (2) the petition, or a count thereof, fails to state a claim upon which habeas corpus relief can be granted;
    (3) the petition presents the same ground as a prior petition previously denied and fails to state new facts or proffer new evidence not reasonably available at the time of the prior petition;
    (4) the claims asserted in the petition are moot or premature;
    (5) any other legally sufficient ground for dismissal of the petition exists. CT Page 9700
    In evaluating a motion to dismiss, [t]he evidence offered by the plaintiff is to be taken as true and interpreted in the light most favorable to [the plaintiff], and every reasonable inference is to be drawn in [the plaintiffs] favor. . . . Angelo Tomasso, Inc. v. Armor Construction  Paving, Inc.,  187 Conn. 544, 548, 447 A.2d 406 (1982)." (Internal quotation marks omitted.) New England Savings Bank v. Bedford Realty Corp., 246 Conn. 594, 608, 717 A.2d 713
(1998).
 Thomas v. West Haven, 249 Conn. 385, 392 (1999).
The petitioner in the instant action has alleged that he has erroneously been placed in punitive segregation. For the purposes of this motion the Court will view this matter in the best light of the petitioner and assume that the facts are true as plead.
The relief that the petitioner is seeking its to have his disciplinary status changed. The respondent asserts that the relief that is sought cannot be obtained via a petition of habeas corpus.
    The scope of relief available through a petition for habeas corpus is limited. In order to invoke the trial court's subject matter jurisdiction in a habeas action, a petitioner must allege that he is illegally confined or has been deprived of his liberty. Our Supreme Court found that "[t]he writ of habeas corpus, as it is employed in the twentieth century, however, does not focus solely upon a direct attack on the underlying judgment or upon release from confinement"; Lozada v. Warden, 223 Conn. 834, 841,  613 A.2d 818 (1992); but is available as a remedy for issues of fundamental fairness implicating constitutional rights. Id., 840; see also Arey v. Warden, 187 Conn. 324, 445 A.2d 916 (1982) (claims concerning conditions of confinement may be brought in habeas corpus proceeding). This court has similarly recognized that "the well established precepts of illegal detention and deprivation of constitutional rights remain the touchstones of [habeas corpus] jurisdiction." Vincenzo v. Warden, 26 Conn. App. 132,  138 n. 4, 599 A.2d 31 (1991). We must therefore determine whether the petitioners have alleged sufficient facts to constitute the deprivation of a legally recognized constitutional right.
CT Page 9701
  Santiago v. Commissioner of Correction, 39 Conn. App. 674,679 (1995).
As was previously stated, the petitioner in this matter seeks to have his disciplinary status changed.
    . . . [I]t is well settled law that prisoners have no constitutionally protected interest or federally protected right in their classification. In Pugliese v. Nelson, 617 F.2d 916, 925 (2d Cir. 1980), the Second Circuit Court of Appeals which covers Connecticut rejected the claim that classification decisions are protected by due process. . .
    Further, an inmate has no liberty interest in a particular security classification. Wheway v. Warden,  215 Conn. 418, 430-31 (1990).
  Tart v. Commissioner of Corrections, Conn.,  2001 Ct. Sup. 9114, 9116 (Jul. 7, 2001) (Rittenband, JTR)
Whereas, the petitioner does not have a liberty interest in a particular security classification, the respondent's failure or refusal to change said status does not deprive the petitioner of a legally recognized constitutional right. The petition fails to state a claim upon which habeas relief may be granted. Furthermore this Court lacks jurisdiction to grant the petitioner the relief that he seeks, the respondent's motion to dismiss is therefore granted.
Richard A. Robinson, J July 26, 2002